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                     UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF MASSACHUSETTS
______________________________________
                                        )
PEDRO LOPEZ, et al.,                    )
           Plaintiffs                   )
                                        )
v.                                      )
                                        ) Case No. 07-CA-11693-GAO
                                        )
CITY OF LAWRENCE, et al.                )
           Defendants                   )
_____________________________________ )

   PLAINTIFFS’ OPPOSITION TO THE DEFENDANT CITY OF BOSTON’S
                MOTION FOR A PROTECTIVE ORDER

                                  I. Introduction

       The City of Boston has moved for a protective order in response to a

subpoena from Plaintiffs seeking documents related to Boston’s administration of

a detective examination. The Plaintiffs requested information regarding the

detective examination because Boston Police Commissioner Edward Davis

recently cited the detective’s examination in a Boston City Council hearing on

June 8, 2010, as a model selection procedure that resulted in a highly diverse

series of appointments to detective.

       Title VII provides that, assuming there is adverse impact resulting from a

selection procedure, an employer can still be liable despite the fact that the

examination in question is job-related if there were less discriminatory

alternatives for the selection procedure. See Bradley v. City of Lynn, 443 F.

Supp. 2d 145, 156 (D. Mass. 2002). By Commissioner Davis’ own admission,

the detective’s examination is an example of a less discriminatory alternative.

Boston’s motion simply seeks to prevent any evidence of this successful

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examination procedure, championed by Commissioner Davis himself, from being

shown to the Court. The Plaintiffs’ subpoena was filed at this late time precisely

due to Commissioner Davis’ admission about the detective’s examination.

       Moreover, Plaintiffs’ counsel recently learned that EB Jacobs, the firm

where Defendants’ expert Jacinto Silva is employed and which has regularly

assisted the Commonwealth of Massachusetts in designing the sergeant

promotional examinations at issue here, also designed detective’s examination.

Documents and information concerning the detective’s examination is therefore

critical for the cross-examination of Silva, and possibly other witnesses.

                                     II. Background

       The Plaintiffs claim that the City of Boston, and the other Defendants,

violated Title VII through the administration of a police sergeant promotional

examination that resulted in severe disparate impact on minority officers. As

explained above, in order to establish a violation of Title VII, the Plaintiffs must

first show adverse impact resulting from the examination. See Bradley, 443 F.

Supp. 2d at 156. . This establishes a prima facie case. In this case, all of the

experts, even those of the Defendants, agree that adverse impact exists for the

City of Boston. See, e.g. Expert Report of James Outtz, Ph.D., at 8, ECF Doc.

214-6; Expert Report of Jacinto Silva, Ph.D., at 7, ECF 214-17. As a result, the

burden shifts to Boston to show that the promotional examination was a job-

related business necessity, otherwise described as a showing of validity. Id.

Even if this is established (though it will not be), the Plaintiffs here will still prevail

if they can show that a less discriminatory alternative selection procedure existed



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for Boston to determine sergeant promotions. Id. Thus, whether such a less

discriminatory alternative exists for Boston will possibly be a central focus of this

trial.

         On June 8, 2010, the Boston City Council convened a hearing on

“Diversifying The Police Force.” Commissioner Davis and Superintendent-In-

Chief Daniel Linsky spoke and answered questions about the police sergeant

promotional examination at issue in this case. Davis criticized the sergeant

examination by noting that it did not test for several important skills for a police

sergeant. He explained “that dimensions like leadership, and morale and

communication are not being measured in this testing process, and [he] agree[d]

. . . that’s the biggest fault.” See Video of City Council Hearing, Docket No. 0610,

at 1:16:45; see Affidavit of Joseph L. Sulman, attached hereto as Exhibit A.1 He

further stated that when “you take a written exam, communication is not going to

measured in that component although communication is a very important

component, knowledge, skill and ability of a person that you need in [sergeant]

ranks.” Id. at 1:48:15.

         Commissioner Davis then discussed his preference for assessment

centers, and cited the detective’s examination as a model.

         I’m a big advocate of assessment centers. We have evidence here
         in Massachusetts... We have used assessment center components
         in the detective testing process that has been very effective and
         that has led to a much more diverse pool of candidates entering
         into the detective positions that we have entering into the superior
         officer positions. So I think we have learned a lesson in Boston that
         there is a superior way to make this to happen. There has been
         very little litigation around it, and I think it is something that will be
         informative to us as we move forward.
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         This video will be introduced as evidence at the trial by Plaintiffs.

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Id. at 1:19:00.

       An assessment center is a type of selection procedure that utilizes

multiple components. The Commonwealth of Massachusetts’ Human Resources

Department (“HRD”) has entered into several delegation agreements with

municipalities in the Commonwealth allowing the municipality to use its own

assessment center to determine its sergeant promotions rather than the use

HRD’s written, multiple choice-examination. See Assessment Centers, Use In

Civil Service Promotions, Human Resources Division, attached hereto as Exhibit

B. As explained above, Plaintiffs’ counsel has recently learned that EB Jacobs,

where Defendants’ expert Jacinto Silva works, designed the detective

examination.

       On June 30, 2010, the Plaintiffs, through counsel, served by hand a

subpoena duces tecum on the City of Boston’s counsel seeking, inter alia, “all

documents concerning each police detective examination in the City of Boston

since January 1, 2005 . . .” The City of Boston filed its motion for a protective

order on July 7, 2010 seeking to prevent any disclosure related to the detective

examination.

                                   III. Argument

       Plaintiffs’ subpoena seeks information that the City of Boston, through

Commissioner Davis, has made particularly relevant for this case. As the

Plaintiffs have alleged, Boston has chosen to utilize the police sergeant

promotional examination developed and administered by the Commonwealth of

Massachusetts’ Human Resources Division, even though it is authorized by

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statute to develop its own selection procedure for promotions. See M.G.L. c. 31,

§ 11. It has done this despite the city’s long history of discriminatory hiring and

promotional practices toward minorities. See Massachusetts Ass'n of Afro-

American Police, Inc. v. Boston Police Dept., 973 F.2d 18, 19 (1st Cir. 1992)

(discussing amendment to 1980 consent decree regarding promotion of minority

officers); Massachusetts Ass'n of Minority Law Enforcement Officers v. Abban,

434 Mass. 256, 259 (2001) (discussing 1978 lawsuit leading to consent decree);

See Boston Police Superior Officers Federation v. Civil Service Com'n, 35

Mass.App.Ct. 688, 624 N.E.2d 617, 621 (1993) (ruling that the Civil Service

Commissioner properly “found that the multiple choice and training and

experience components alone failed to constitute a fair test of supervisory skills

and ability”).

       Commissioner Davis’ statements at June 8, 2010 City Council Hearing

and the results of Boston’s detective examination show that Boston is aware of a

better method of testing its officers than a written, multiple-choice exam that

measures memorization. The fact that detective is a different position than

sergeant, as explained by Boston, is beside the point. See ECF Doc. 239,

Boston Mtn. at 3. Plaintiffs are not asserting that Boston should utilize the

assessment center designed for selecting detectives for determining sergeant

promotions. Every assessment center is tailored to the position for which it is

measuring the knowledge, skills, and abilities. The point here is that

Commissioner Davis acknowledges that he prefers assessment centers, and that




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he has evidence that they can produce a more diverse – i.e. less discriminatory –

resulting pool of eligible candidates.

       Therefore, documents showing the process by which the detective’s

assessment center was established and its components, among other

documents, will be particularly relevant and helpful to this Court in determining

whether a less discriminatory alternative existed for Boston as a selection

procedure for sergeants. They will also be necessary for the cross-examination

of Dr. Silva, and potentially other witnesses. Further, Plaintiffs’ subpoena was

filed promptly after Commissioner Davis raised the detective examination as a

model selection procedure. The post-discovery filing was thus directly due to the

fact that Commissioner Davis highlighted this particular examination procedure

as exemplary. Prior to this time, any discovery request for information relating to

the selection procedures for detective, or other ranks and positions, would have

been an overbroad fishing expedition. Plaintiffs’ subpoena is a narrow, focused

request for documents that Boston has already conceded, through Commissioner

Davis, are relevant to the issues in this case.




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                                IV. Conclusion

      For the foregoing reasons, Boston’s motion for a protective order should

be denied, and the City of Boston should be compelled to comply with the June

30, 2010 subpoena at issue.

                                        Respectfully submitted,
                                        PEDRO LOPEZ, et al.
                                        By their attorneys,


                                        /s/ Joseph L. Sulman
Dated: July 9, 2010                      ____________________________
                                        Harold L. Lichten, BBO #549689
                                        Shannon Liss-Riordan, BBO #640716
                                        Joseph Sulman, BBO #663635
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                          CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was served upon
the Court and counsel of record for defendants via the Court’s ECF filing system,
on July 9, 2010.

                                         /s Joseph L. Sulman_____
                                       Joseph L. Sulman




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